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                               UNITED STATES DISTRICT COURT
  8
                              CENTRAL DISTRICT OF CALIFORNIA
  9                                 WESTERN DIVISION
 10
 11 Sarah Perdue,                                    Case No.: 2:16-cv-08785-SVW-PJW
 12                    Plaintiff,
                                                     ORDER
 13         vs.
 14
      Universal Recovery Corporation,
 15
                       Defendant.
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 17
 18          Based on the Stipulation of counsel, the case is dismissed with prejudice, each
 19 party to bear its own attorney fees and costs.
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 21
 22 Date: October 18, 2017                           ___________________________
 23                                                  Judge: Hon. Stephen V. Wilson
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      2:16-cv-08785-SVW-PJW                                                 ORDER
